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Our File No. 7500-091

Attorneys for Defendant,

Tod Williams Billie Tsien Architects, LLP

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Plaintiff, }
:Civil Action No.
Vv. ' 3:19-cv-21248-BRM-LHG
TOD WILLIAMS BILLIE TSIEN ! PROPOSED ORDER

ARCHITECTS, LLP; JACOBS
ARCHITECTS/ENGINEERS, INC.;
and JACOBS CONSULTANCY INC.,

Defendants.

 

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Defendant/ !
Third-Party Plaintiff,

Vv.

ARUP, USA, INC., THE

BALLINGER COMPANY, SEVERUD
ASSOCIATES CONSULTING
ENGINEERS, P.C., FISHER
MARANTZ STONE, FRANK HUBACH
ASSOCIATES, INC., F.J. SCIAME }
CONSTRUCTION COMPANY, INC.,
JOHN DOES 1-10 and ABC
CORPORATIONS 1-10,

Third-Party Defendants. |

 
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AND NOW, this day of July, 2020, upon consideration of
the Motion of defendant Tod Williams Billie Tsien Architects, LLP,
for leave to file amend pleadings and join additional parties, and
all briefing submitted by defendant and/or the parties in response
and reply thereto, it is hereby ORDERED and DECREED that said
Motion is GRANTED.

IT IS FURTHER ORDERED that defendant Tod Williams Billie Tsien
Architects, LLP is granted leave to file:

1. an Amended Third-Party Complaint joining additional
parties in this matter in substantially the same form as Exhibit
“A” to the Motion; and

2. an Answer to the Cross-Complaint by defendants Jacobs
Architects/Engineers, Inc. and Jacobs Consultancy, Inc. and
Third-Party Complaint in the same form as Exhibit “B” to the
Motion; and

3. an Answer to the Counterclaim by third-party Arup, USA,
Inc. and Third-Party Complaint in the same form as Exhibit “c”
to the Motion.

IT IS FURTHER ORDERED the proposed pleadings shall be filed
within days hereof.

BY THE COURT:

 

LOIS H. GOODMAN, U.S.M.J.
